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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                  )
   JOHN LEADFORD, Individually and                )
   on Behalf of All Others Similarly              ) Case No. 1:18-cv-00545-RGA
   Situated,                                      )
                                                  )
                         Plaintiff,               )
                                                  )
             v.                                   )
                                                  )
   TALLGRASS ENERGY PARTNERS,                     )
   LP, DAVID G. DEHAEMERS JR.,                    )
   WILLIAM R. MOLER, JEFFREY R.                   )
   ARMSTRONG, JEFFREY A. BALL,                    )
   ROY N. COOK, FRANK J.                          )
   LOVERRO,   STANLEY    DE  J.                   )
   OSBORNE, JOHN T. RAYMOND,                      )
   AND TERRENCE D. TOWNER,                        )
                                                  )
                         Defendants.              )
                                                  )

                           NOTICE OF VOLUNTARY DISMISSAL

        In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff John Leadford

(“Plaintiff”), by counsel, hereby gives notice that he is dismissing all claims in the above-captioned

matter, with prejudice as to his individual claims and without prejudice as to the claims of the

putative class. Because this dismissal is being filed with the Court before service by Defendants

of either an answer or a motion for summary judgement, Plaintiff’s dismissal of the Action is

effective upon the filing of this notice.

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Dated: August 30, 2018                     Respectfully submitted,

                                           COOCH AND TAYLOR, P.A.
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